                                                                            ORDER:
                                                                            Motion granted for time
                                                                            requested.

                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION          U.S. Magistrate Judge

JOHN DOE                                            )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )       No. 1:18-cv-0084
                                                    )
DAVID BYRD, in his individual and official          )
capacity as Member of the Tennessee House of        )
Representatives, et al.                             )
                                                    )
       Defendants.                                  )


                        UNOPPOSED MOTION [SECOND] FOR
                     EXTENSION OF TIME TO ANSWER, MOVE, OR
                       OTHERWISE RESPOND TO COMPLAINT


       Defendants respectfully move the Court, pursuant to Federal Rule of Civil Procedure

6(b)(1), to extend the time in which Defendants may answer, move, or otherwise respond to the

Complaint up to and including February 21, 2019. This is Defendants’ second request for

extension of time.

       In support of this Motion, Defendants would show that the deadline for responding to the

Complaint is Thursday, January 31, 2019. The parties are exploring a potential resolution to this

lawsuit, and request additional time to respond to the Complaint to accommodate their discussions.

       Defendants’ counsel has addressed the requested extension with counsel for Plaintiff,

Benjamin A. Gastel, Esq., and he has no objection to the requested extension.




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